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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

     David Cathey,                                    )
                                                      )
                         Plaintiff,                   )
                                                      )
     vs.                                              )   Case No. 4:21-cv-264
                                                      )
     VSC Operations, LLC,                             )
                                                      )
                     Defendant.                       )


                                                 ORDER


           Pending before the Court is Defendant VSC Operations, LLC’s Rule 12(b)(6) Motion to
.
    Dismiss (Dkt. #5).     On June 15, 2021, Plaintiff filed an Amended Complaint (Dkt. #8).

           It is therefore ORDERED that Defendant VSC Operations, LLC’s Rule 12(b)(6)

    Motion to Dismiss (Dkt. #5) is denied as moot.

           IT IS SO ORDERED.
            SIGNED this 16th day of June, 2021.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES DISTRICT JUDGE
